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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                     CAMERON OAKES                                    )
                                                                      )
                                                                      )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 20-7591
                                                                      )
   UNITED STATES DEPARTMENT OF DEFENSE                                )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) The United States Department of Defense
                                           The United States Attorney's Office
                                           Southern District of New York
                                           1 St. Andrews Plaza
                                           New York, New York 10007



          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Raymond Baldino, Esq.
                                           Zazzali, Fagella, Nowak, Kleinbaum & Friedman
                                           570 Broad Street, Suite 1402
                                           Newark, N.J. 07102



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:             09/17/2020
                                                                                           Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 20-7591

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK



CAMERON OAKES,

                                                           Civil Action No. 20-7591
                           Plaintiff,

                                                                        COMPLAINT
                v.

UNITED         STATES        DEPARTMENT           OF
DEFENSE




                            Defendant.


                               COMPLAINT FOR INJUNCTIVE RELIEF

                                          Preliminary Statement

          1.         This is an action under the Freedom of Information Act (“FOIA”) seeking the release

of agency records relating to military recruitment contracts at colleges and universities in the United

States.

          2.         Plaintiff is a freelance journalist who placed certain FOIA requests with the United

States Department of Defense in relation to an article she is researching regarding the military

recruitment process. The contracts and proposals requested by Plaintiff concern Department of Defense

agreements with third party contractors in the recruitment process, and are a critical component of her

story in showing certain aspects of that process. Without fulfillment of Plaintiff’s FOIA requests, she

will be unable to publish the final story. As best can be discerned from the agency’s response to the

                                                       1
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FOIA requests, it appears that the agency can easily retrieve the records and that they are well-identified

according to Plaintiff’s obligations as a FOIA requestor, but she has been met with repeated, extensive

and unlawful delay, as well as attempts to require her to re-submit requests that were well-understood by

the agency. The records must be disclosed according to the mandates of the FOIA.

                                                   Parties

       3.         Plaintiff Cameron Oakes is a freelance journalist whose works have appeared on

NBCNews.Com, Haaretz, LAND/RadioLAND (Latin America News Dispatch), NYU Local, Her

Culture Magazine, Cooper Squared, MSNBC and The Interlude. Plaintiff resides at 316 West 39th

Street, New York, NY 10018.

       4.         Defendant the United States Department of Defense (the “DOD”) is a Department of

the Executive Branch of the United States government. DOD is an agency within the meaning of 5

U.S.C. § 552(f)(1).

                                        Jurisdiction and Venue

       5.      This Court has subject matter jurisdiction over this action and personal jurisdiction over

the parties pursuant to 5 U.S.C. § 552(a)(4)(B).

       6.      Venue is proper in this district under 5 U.S.C. § 552(a)(4)(B) because Plaintiff’s

residence and principal place of business are in New York.

The DOD Fails to Timely Respond to Plaintiff’s FOIA Requests and Advise Plaintiff of her Right
                                         to Appeal


                                         Request No. 20-F-0092

       7.         On or about October 15, 2019, Plaintiff filed a FOIA request with the DOD seeking

the following documents:


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               Proposals for contracts awarded to ‘MullenLowe U.S., Inc.” by the
               Department of Defense from 2001 onwards. ‘MullenLowe U.S., Inc.’
               operates out of Boston, Massachusetts. I would like to have MullenLowe
               U.S., Inc.’s proposal for each of the following contracts: H981019F0191,
               H9821018F0187, H9821019F0118, H9821018F0169, H9821018F0061,
               H9821019F0115, H9821019F0262, H9821018F0060, H982101170063,
               H9821019F0018, H9821017F0064, H9821017F0148, H9821017F0147,
               H9821018F0175, H98210117F0085, H9821019F0265, H9821018F0145,
               H9821019F0222, H9821017F0102, H9821017F0062, H9821018F0125,
               H9821017F0156. I would also like any proposals, pitches, or memos from
               MullenLowe U.S., Inc. related to contract modifications for the above
               contracts, including but not limited to contract modification numbers:
               0001-0086.

       8.         On October 22, 2019 the DOD wrote to respond to Plaintiff’s FOIA request and

assigned the Request number 20-F-0092.        The DOD responded that it would be unable to respond

within the 20 day statutory time period of FOIA, claiming that the “unusual circumstances” set forth in 5

U.S.C. § 552 (a)(6)(B) existed. However, the response did not indicate that a response would be

provided within the 10-day period set forth in subsection (i) thereof, and did not advise that a longer

period would be required pursuant to subsection (ii) thereof.

       9.      The DOD did not advise Plaintiff of her right to appeal its response. The DOD did not

set forth a date on which a determination on whether to comply with Plaintiff’s request would be

reached. See Exh. A (Request 20-F-0092 and response).

       10.        In the some 9 months since its October 22, 2019 response the DOD has provided no

further response or updates to Plaintiff.

       11.        The DOD claimed that the “unusual circumstances” presented by Plaintiff’s request

were the following: “(a) the need to search for and collect records from a facility geographically

separated from this office; (b) the potential volume of records responsive to your request; and (c) the

need for consultation with one or more agencies or DOD components having a substantial interest in


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either the determination or the subject matter of the records.”

       12.        Upon information and belief, Plaintiff’s Request No. 20-F-0092 did not present

unusual circumstances that would justify the extensive delay of the DOD of more than 9 months in

responding to the request (which amounts to an indefinitely delayed response).       Although it is an

element of “unusual circumstances,” the forwarding of a request to the component of the DOD that

maintains the records is a required practice per the DOD’s FOIA regulations, and nothing exceptional to

justify more than 9 months of delay. 32 CFR 286.7(c). Seeking consultation and/or referral of the

request from the component agency is also a required practice, and would not justify a more than 9

month delay. 32 CFR 286.7(d).

       13.        Most importantly, Request No. 20-F-0092 sought proposals associated with some 22

discretely specified contracts, which are not voluminous. Given the similar subject matter of the

records, a lengthy consultation and/or referral deliberation within the agency of more than 9 months is

not supported.

                                         Request No. 20-F-1051

       14.        On April 28, 2020, Plaintiff filed a FOIA request with the DOD seeking the following

documents: “Access to and copies of all Department of Defense contracts, subcontracts, or purchase

receipts with ‘Equifax Data Services, Inc.’ from 2001 onwards. ‘Equifax Data Services, Inc.’ operates

out of Wakefield, M.A.”

       15.         On May 5, 2020, the DOD wrote to respond to Plaintiff’s FOIA request, assigning it

number 20-F-1051. The DOD responded that it would be unable to respond within the 20 day statutory

time period of FOIA, claiming that the “unusual circumstances” set forth in 5 U.S.C. § 552 (a)(6)(B)

existed. However, the response did not indicate that a response would be provided within the 10-day


                                                     4
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period set forth in subsection (i) thereof, and did not advise that a longer period would be required

pursuant to subsection (ii) thereof.

       16.         The DOD did not advise Plaintiff of her right to appeal its response. The DOD did

not set forth a date on which a determination on whether to comply with Plaintiff’s request would be

reached. See Exh. B (Request 20-F-1051 and response).

       17.         On May 28, 2020, Plaintiff received a further response to Request No. 20-F-1051 in

an e-mail from the DOD. The e-mail advised Plaintiff that while certain of the documents could be

fulfilled by the DOD component she had requested the records from, she was requested to break those

requests down to 2 or 3 new requests to process the requests quicker. The e-mail also advised that

numerous requests sought contracts from other DOD components, and stated that Plaintiff would need to

request the contracts directly from each component agency. The response contained a spreadsheet

identifying each contract responsive to Plaintiff’s request, comprising 110 contracts. See Exh. C (May

28, 2020 response to Request No. 20-F-1051).

       18.         Upon information and belief, no “unusual circumstances” exist to deny access to

FOIA Request No. 20-F-1051, and indeed, the DOD’s provision of a spreadsheet identifying each and

every responsive contract and its location within a specific DOD component demonstrates that the

elements of “unusual circumstances” - which are burdensome searching, collection and consultation

over responsive records - are not raised at all here.

       19.         The procedures set forth in the May 28, 2020 response of the DOD violate its own

FOIA procedures as set forth in its regulations. As noted, the DOD is required to forward requests to the

component agency that possesses the records to thereby retrieve the records – its regulations do not

permit it to force a request to interpolate the information. 32 CFR 286.7(c)-(d). Further, the invitation


                                                        5
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for Plaintiff to break the requests into pieces was a further unnecessary foisting of interpolative work on

Plaintiff, as the DOD’s regulations already permit it to disclose records on “rolling” basis. 32 CFR

286.9(c).

       20.        The demand that Plaintiff perform additional interpolative work with respect to

Request No. 20-F-1051, and that Plaintiff place multiple additional requests in response to her

straightforward and non-complex FOIA request amounted to a denial of access.

             Three Additional Requests Placed to the DOD Were Received No Response

       21.     Plaintiff also placed three closely related, but distinct FOIA Requests in October 2019

that the Department to which the DOD has not yet responded.

       22.     On October 10, 2019 Plaintiff submitted a FOIA request to the DOD for “a full copy of

all contracts awarded to ‘Fors Marsh Group LLC’ by the Department of Defense from 2001 onwards.

‘Fors Marsh Group LLC’ operates out of Arlington, Virginia. The DoD lists several summaries of

million-dollar contracts on its website, but I would like each of the full contracts (including but not

limited to contracts: H98210-15-D-0001 (and its fixed-price modifications), N00178-16-D-8518 thru

N00178-16-D-9125, and W52P1J-15-F-5022). I would also like any Fors Marsh Group LLC contracts

that did not meet the $7 million dollar requirement necessary to be reported on the DoD website.” See

Exh. D.

       23.     On October 10, 2019, Plaintiff submitted a FOIA request to the DOD for “copies of all

proposals for the Department of Defense contracts from to “Fors Marsh Group LLC” from 2001

onwards.     ‘Fors Marsh Group LLC’ operates out of Arlington, Virginia.          The DoD lists several

summaries of million-dollar contracts on its website. I would like to have proposals including but not

limited to for contracts (later awarded): H98210-15-D-0001 (and its fixed price modifications), N00178-


                                                    6
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16-D-8518 thru N00178-16-D-9125, and W52P1J-15-F-5022. I would also like any Fors Marsh Group

LLC proposals that did not meet the $7 million dollar requirement necessary to be reported on the DoD

website.” See Exh. E. Upon information and belief, based on certain correspondence with the DOD,

this FOIA request was assigned the tracking number 20-F-0077, however, no formal response was

provided.

       24.     On October 15, 2019, Plaintiff submitted a FOIA request to the DOD for “all contracts

awarded to ‘MullenLowe U.S., Inc.’ by the Department of Defense from 2001 onwards. ‘MullenLowe

U.S., Inc.’ operates out of Boston, Massachusetts. I would like to have each of the following contracts:

H9821019F0191 H9821018F0187 H9821019F0118 H9821018F0169 H9821018F0061 H9821019F0115

H9821019F0262 H9821018F0060 H9821017F0063 H9821019F0018 H9821019F0018 F9821017F0064

H9821017F0148 H9821017F0147 H9821018F0175 H9821017F0085 H9821019F0265 H9821018F0145

H9821019F0222 H9821017F0102 H9821017F0062 H9821018F0125 H9821017F0156. I would also

like all contract modifications for the above contracts, including but not limited to contract modification

numbers: 0001-0086.” See Exh. F.

       25.     For each of the above-referenced FOIA requests set forth in paragraphs 20-22 herein, the

DOD has not provided any written response.

     The DOD Has Unlawfully Denied Access to the Documents Sought in all of Plaintiffs Five
                                        Requests

       26.        Under FOIA’s provisions, 5 U.S.C. 552(a)(6)(A), an agency must notify a requester

within 20 working days of their request of the determination of whether to comply, unless “unusual

circumstances” exist pursuant to 5. U.S.C. § 552(a)(6)(B).          However, even assuming “unusual

circumstances” exist (and upon information and belief, they do not for these requests), the response must

set forth “the date on which a determination is expected to be dispatched.”      The same is required by

                                                    7
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DOD regulations. 32 CFR § 286.8(c). In violation of those requirements, none of the DOD’s responses

claiming “unusual circumstances” provided a date on which a determination would be reached.

       27.        The DOD has denied access to the records requested by Plaintiff in Requests Nos. 20-

F-0092 and 20-F-1051, as well as the three FOIA requests placed in October 2019, by failing to respond

within the statutory and regulatory time period and failing to respond in the required manner set forth

above, without justification, and in imposing extensive delay as well as other hurdles to access. What is

more, as to Request No. 20-F-0092, the DOD has failed to respond over a period of more than 9 months.

       28.        Upon information and belief, the DOD has not performed an adequate search for

records responsive to Plaintiff in Requests Nos. 20-F-0092 and 20-F-1051. As its own responses appear

indicate, the records are readily obtainable by searching DOD databases.

       29.        Upon information and belief, none of the records requested by Plaintiff are exempt,

and to the extent such records are exempt as trade secrets, her requested advised that the material would

be accepted with redactions as to such confidential or exempt information.

       30.        As a result of the DOD’s failure to advise Plaintiff of her right to appeal Requests

Nos. 20-F-0092 and 20-F-1051, Plaintiff is deemed to have exhausted her administrative remedies.

       31.        Plaintiff has brought this litigation to ask the Court to require the DOD to disclose the

requested documents.

                           Plaintiff is a Journalist Entitled to a Fee Waiver

       32.        Plaintiff requested a fee waiver in connection to Requests Nos. 20-F-0092 and 20-F-

1051 an her other requests that were not assigned a tracking number, pursuant to 5 U.S.C. §

552(a)(4)(A)(ii)(II) as a “representative of the news media.” As noted, Plaintiff is a journalist who is

published in major outlets and meets the requirements of this provision. She gathers information of


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potential interest to the public, uses editorial skill to turn that information into unique journalistic works,

and distributes her work to a public audience.

        33.         The records sought in these Requests will substantially contribute to the public

understanding of military recruitment on college campuses and the intended use of the records is of bona

fide journalistic and public interest.

                                              Causes of Action

        34.         Plaintiff repeats and reincorporates paragraphs 1-33 of the Complaint, as if fully set

forth herein.

        35.         Defendant’s failure to timely respond to Plaintiff’s requests violates the FOIA, 5

U.S.C. § 552(a)(6)(A)(i), 5 U.S.C. § 552(a)(6)(B), and the DOD’s regulations 32 CFR § 286.8(c).

        36.         Defendant’s demand that Plaintiff interpolate, divide and re-submit request to various

DOD agency components violates DOD regulation 32 CFR § 286.7(c) concerning the role of the DOD

in processing FOIA requests.

        37.         Defendant’s failure to make a reasonable effort to search for records responsive to

Plaintiff’s request violates the FOIA, 5 U.S.C. § 552(a)(3)(C).

        38.         Defendant’s wrongful withholding of non-exempt responsive material violates FOIA,

5 U.S.C. § 552(a)(3)(A).

        WHEREFORE, Plaintiff seeks and Order of this Court:

              a. Ordering Defendant to immediately process all requested records;

              b. Ordering Defendant to conduct a thorough search for all responsive records;

              c. Ordering Defendant to promptly disclose the requested records in their entirety, or else

                 redacted to the extent necessary to remove exempt information, and make copies


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             available to Plaintiff;

          d. Enjoining Defendant from charging Plaintiff fees for the processing of the requests;

          e. Award Plaintiff its costs and reasonable attorneys’ fees incurred in this action pursuant to

             5 U.S.C. § 552(a)(4)(E);

          f. Such other relief as the Court deems just and proper.



                                            Respectfully submitted,

                                            ZAZZALI, FAGELLA, NOWAK
                                             KLEINBAUM & FRIEDMAN
                                            Attorneys for the Plaintiff


Dated: September 16, 2020                   By:    _/s/ Kenneth I. Nowak
                                                    Kenneth I. Nowak, Esq.




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Cameron Oakes
freelance journalist                                               20-F-0092
N/A
316 West 39th Street
Apt 3E
New York, NY 10018
2163362700

FOIA Officer
Department of Defense
Office of the Secretary and Joint Staff
1155 Defense Pentagon
Office of Freedom of Information
Washington, DC 20301-1155
(866) 574-4970
whs.mc-alex.esd.mbx.osd-js-foia-requester-service-center@mail.mil



October 15, 2019

         FOIA REQUEST

Dear FOIA Officer:

Pursuant to the federal Freedom of Information Act, 5 U.S.C. § 552, I request access to and copies of all
"MullenLowe U.S., Inc." proposals for contracts awarded to "MullenLowe U.S., Inc." by the Department of
Defense from 2001 onwards. "MullenLowe U.S., Inc." operates out of Boston, Massachusetts. I would like
to have MullenLowe U.S., Inc.'s proposal for each of the following contracts: H9821019F0191
H9821018F0187 H9821019F0118 H9821018F0169 H9821018F0061 H9821019F0115 H9821019F0262
H9821018F0060 H9821017F0063 H9821019F0018 H9821017F0064 H9821017F0148 H9821017F0147
H9821018F0175 H9821017F0085 H9821019F0265 H9821018F0145 H9821019F0222 H9821017F0102
H9821017F0062 H9821018F0125 H9821017F0156 I would also like any proposals, pitches, or memos from
MullenLowe U.S., Inc. related to contract modifications for the above contracts, including but not limited to
contract modification numbers: 0001-0086 It is my understanding that trade secrets are exempt from FOIA
requests. In the event that the proposals contain any trade secrets, I request that the secrets be redacted and
the contract still provided, as mandated by federal law.

I would like to receive the information in electronic copies. But I will also accept the contracts in paper form.
And I am willing to pay a fee to have the documents printed and mailed to me at my listed address.

I agree to pay reasonable fees for the processing of this request up to $100. Please notify me before incurring
any expenses in excess of that amount.

Fee Categorization

For fee categorization purposes, I am a representative of the news media. Through this request, I am
gathering information for my journalistic work with . . an article that I intend to publish. I do not yet have an
outlet for publication, but it will be published some time in early 2020. Accordingly, I am only required to
pay for the direct cost of duplication after the first 100 pages. 5 U.S.C. § 552(a)(4)(A)(ii)(II); id. §
552(a)(4)(A)(iv)(II).

Conclusion

If my request is denied in whole or part, please justify all withholdings by reference to specific exemptions
and statutes, as applicable. For each withholding please also explain why your agency “reasonably foresees
that disclosure would harm an interest protected by an exemption” or why “disclosure is prohibited by
law[.]” 5 U.S.C. § 552(a)(8)(A)(i).
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I would appreciate your communicating with me by email or telephone, rather than by mail.

I look forward to your determination regarding my request within 20 business days, as the statute requires.

Thank you in advance for your assistance.

Sincerely,



Cameron Oakes
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                                DEPARTMENT OF DEFENSE
                              FREEDOM OF INFORMATION DIVISION
                                   1155 DEFENSE PENTAGON
                                 WASHINGTON, DC 20301-1155



                                                                                    May 5, 2020
                                                                                 Ref: 20-F-1051


Cameron Oakes
Freelance Journalist
316 West 39th St. Apt. E3
New York, NY 10018

Dear Mrs. Oakes:

        This is an interim response to your April 28, 2020 Freedom of Information Act (FOIA)
request, a copy of which is enclosed for your convenience. We received your request on
May 5, 2020, and assigned it case number 20-F-1051. We ask that you use this number when
referring to your request.

        Although we have already begun processing your request, we will not be able to respond
within the FOIA's 20-day statutory time period as there are unusual circumstances which impact
our ability to quickly process your request. The FOIA defines unusual circumstances as (a) the
need to search for and collect records from a facility geographically separated from this office;
(b) the potential volume of records responsive to your request; and (c) the need for consultation
with one or more other agencies or DoD components having a substantial interest in either the
determination or the subject matter of the records. At least one, if not more of these scenarios
applies or would likely apply to your request. While this office handles FOIA requests for the
Office of the Secretary of Defense (OSD), the Joint Staff (JS) and other component offices, we
do not actually hold their records and our office is not geographically located with these
organizations. As we do not hold the records, until the required records searches are complete,
we are unable to estimate the potential volume of records or the number of consultations that will
be required to make a release determination.

       Your request has been placed in our complex processing queue and is being worked
based on the order in which the request was received. Our current administrative workload is
approximately 3,326 open requests.

       In some instances, we have found that requesters who narrow the scope of their requests
experience a reduction in the time needed to process their requests. If you wish to narrow the
scope of your request or have questions about the foregoing, please do not hesitate to contact
your Action Officer, Mr. Xavier Salame, at xavier.p.salame.ctr@mail.mil or
571-372-0419.

     Additionally, if you have concerns about service received by our office, please contact a
member of our Leadership Team at 571-372-0498 or Toll Free at 866-574-4970.
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        Should you wish to inquire about mediation services, you may contact the OSD/JS FOIA
Public Liaison, Melissa S. Walker, at 571-372-0462 or by email at OSD.FOIALiaison@mail.mil,
or the Office of Government Information Services (OGIS) at the National Archives and Records
Administration. The contact information for OGIS is as follows:

                             Office of Government Information Services
                             National Archives and Records Administration
                             8601 Adelphi Road-OGIS
                             College Park, MD 20740
                             E-mail: ogis@nara.gov
                             Telephone: 202-741-5770
                             Fax: 202-741-5769
                             Toll-free: 1-877-684-6448

       We regret the delay in responding to your request and appreciate your patience. As
previously stated, please contact your Action Officer, Mr. Salame, and reference FOIA case
number 20-F-1051 for any questions or concerns.

                                                   Sincerely,




                                                   Stephanie L. Carr
                                                   Chief

Enclosure:
As stated
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-                                              -



FY2001-FY2020 DoD Awards to Equifax (Source: FPDS as of May 18, 2020)

                                                         Major Command    Contracting
                 Contracting Agency Name                      Code          Office ID
DEFENSE COUNTERINTELLIGENCE AND SECURITY AGENCY                          HS0021
DEFENSE COUNTERINTELLIGENCE AND SECURITY AGENCY                          HS0021
DEFENSE FINANCE AND ACCOUNTING SERVICE (DFAS)                            HQ0422
DEFENSE HUMAN RESOURCES ACTIVITY                                         H98210
DEFENSE HUMAN RESOURCES ACTIVITY                                         H98210
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1047
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1047
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1047
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1047
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DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1047
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DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1047
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1047
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1047
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1047
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1047
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1064
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1064
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1064
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1064
DEFENSE INFORMATION SYSTEMS AGENCY (DISA)                                HC1064
DEPT OF DEFENSE EDUCATION ACTIVITY (DODEA)                               HE1254
DEPT OF DEFENSE EDUCATION ACTIVITY (DODEA)                               HE1254
DEPT OF DEFENSE EDUCATION ACTIVITY (DODEA)                               HE1254
DEPT OF DEFENSE EDUCATION ACTIVITY (DODEA)                               HE1254
DEPT OF THE AIR FORCE                                    AETC            FA3016
DEPT OF THE AIR FORCE                                    AETC            FA3016
DEPT OF THE AIR FORCE                                    AETC            FA3016
DEPT OF THE AIR FORCE                                    AETC            FA3016
DEPT OF THE AIR FORCE                                    AETC            FA3016
DEPT OF THE AIR FORCE                                    AETC            FA3016
DEPT OF THE AIR FORCE                                    AETC            FA3016
DEPT OF THE AIR FORCE                                    AETC            FA3016
DEPT OF THE AIR FORCE                                    AETC            FA3016
DEPT OF THE AIR FORCE                                    AETC            FA3016
DEPT OF THE AIR FORCE                                    AETC            FA3016
DEPT OF THE AIR FORCE                                    AETC            FA3089
DEPT OF THE AIR FORCE                                    AETC            FA3089
DEPT OF THE ARMY                                         ACA             W91QF4


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DEPT OF THE ARMY                                         AMC      W52P1J
DEPT OF THE ARMY                                         AMC      W9124D
DEPT OF THE ARMY                                         AMC      W91QV1
DEPT OF THE ARMY                                         DCCW     SW01
DEPT OF THE ARMY                                         DCCW     SW01
DEPT OF THE ARMY                                         DSSW     SW01
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         INSCOM   W911W4
DEPT OF THE ARMY                                         MEDCOM   W91YTZ
DEPT OF THE ARMY                                         USACE    W912DR
DEPT OF THE ARMY                                         USACE    W912P5
DEPT OF THE NAVY                                                  N00259
DEPT OF THE NAVY                                                  N00259
DEPT OF THE NAVY                                         NAVSUP   N00104
DEPT OF THE NAVY                                         NAVSUP   N00189
DEPT OF THE NAVY                                         NAVSUP   N00189
DEPT OF THE NAVY                                         NAVSUP   N00189
DEPT OF THE NAVY                                         NAVSUP   N00189
DEPT OF THE NAVY                                         NAVSUP   N00259
DEPT OF THE NAVY                                         NAVSUP   N00259
DEPT OF THE NAVY                                         NAVSUP   N00259
DEPT OF THE NAVY                                         NAVSUP   N00259
DEPT OF THE NAVY                                         NAVSUP   N00259
DEPT OF THE NAVY                                         NAVSUP   N00259
DEPT OF THE NAVY                                         NAVSUP   N62936
DEPT OF THE NAVY                                         NAVSUP   N62936
DEPT OF THE NAVY                                         NAVSUP   N62936
DEPT OF THE NAVY                                         NAVSUP   N62936
DEPT OF THE NAVY                                         NAVSUP   N63285
DEPT OF THE NAVY                                         NAVSUP   N63285
DEPT OF THE NAVY                                         NAVSUP   N66715
DEPT OF THE NAVY                                         NAVSUP   N66715
DEPT OF THE NAVY                                         USMC     M67001


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WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0034
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0095
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0095
WASHINGTON HEADQUARTERS SERVICES (WHS)                            HQ0095




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                                          Referenced IDV                   DUNS
           Contracting Office Name              PIID           PIID       Number
DEFENSE CI AND SECURITY AGENCY           GS22F9663D      HS002109F0118   059538249
DEFENSE CI AND SECURITY AGENCY           GS02F0235X      HS002119F0023   059208835
DEFENSE FINANCE AND ACCOUNTING SVC       GS22F9611D      HQ042205F0062   045812369
DEFENSE HUMAN RESOURCES ACTIVITY                         H9821011P0026   059538249
DEFENSE HUMAN RESOURCES ACTIVITY         GS00F159DA      H9821016F0022   059538249
DEFENSE INFORMATION SYSTEMS AGENCY       GS22F9663D      HC104706F4099   059538249
DEFENSE INFORMATION SYSTEMS AGENCY       GS22F9663D      HC104711F0017   059538249
DEFENSE INFORMATION SYSTEMS AGENCY                       HC104712P4035   059538249
DEFENSE INFORMATION SYSTEMS AGENCY       GS22F9663D      HC104704F4019   059538249
DEFENSE INFORMATION SYSTEMS AGENCY       GS22F9663D      HC104705F4064   059538249
DEFENSE INFORMATION SYSTEMS AGENCY       GS22F9663D      HC104707F0069   059538249
DEFENSE INFORMATION SYSTEMS AGENCY       GS22F9663D      HC104707F0070   059538249
DEFENSE INFORMATION SYSTEMS AGENCY       GS22F9663D      HC104708F0039   059538249
DEFENSE INFORMATION SYSTEMS AGENCY       GS22F9663D      HC104709F0035   059538249
DEFENSE INFORMATION SYSTEMS AGENCY       GS22F9663D      HC104710F0018   059538249
DEFENSE INFORMATION SYSTEMS AGENCY       GS22F9663D      HC104713F0015   059538249
DEFENSE INFORMATION SYSTEMS AGENCY       GS22F9663D      HC104714F0033   059538249
J7 WHITE HOUSE COMM AGENCY               GS22F9663D      HC106415F0025   059538249
J7 WHITE HOUSE COMM AGENCY               GS00F159DA      HC106417F0029   059538249
J7 WHITE HOUSE COMM AGENCY               GS00F159DA      HC106418F0031   059538249
J7 WHITE HOUSE COMM AGENCY               GS00F159DA      HC106420F0017   059538249
J7 WHITE HOUSE COMM AGENCY               GS22F9663D      HC106416F0039   059538249
DOD EDUCATION ACTIVITY                                   HE125405C0030   940048916
DOD EDUCATION ACTIVITY                                   HE125408P0089   940048916
DOD EDUCATION ACTIVITY                                   HE125407P1241   940048916
DOD EDUCATION ACTIVITY                   GS22F9663D      HE125409F0011   059538249
FA3016 502 CONS CL                       GS00F159DA      FA301617FG084   059538249
FA3016 502 CONS CL                       GS00F159DA      FA301617FG117   059538249
FA3016 502 CONS CL                       GS00F159DA      FA301617FG143   059538249
FA3016 502 CONS CL                       GS00F159DA      FA301617FG194   059538249
FA3016 502 CONS CL                       GS00F159DA      FA301617FG231   059538249
FA3016 502 CONS CL                       GS00F159DA      FA301617FG308   059538249
FA3016 502 CONS CL                       GS00F159DA      FA301617FG331   059538249
FA3016 502 CONS CL                       GS00F159DA      FA301617FG402   059538249
FA3016 502 CONS CL                       GS00F159DA      FA301617FG506   059538249
FA3016 502 CONS CL                       GS22F9663D      FA301616FG002   059538249
FA3016 502 CONS CL                       GS22F9663D      FA301617FG033   059538249
FA3089 902 CONS LGC JBSA                 GS22F9663D      FA308914FG001   059538249
FA3089 902 CONS LGC JBSA                 GS22F9663D      FA308915FG001   059538249
W6QM MICC-FT LEAVENWORTH                 GS35F0022P      W91QF406F0213   940048916


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W4MM USA JOINT MUNITIONS CMD                           W52P1J11P5015   059538249
W6QM MICC-FT KNOX                                      W9124D11P0308   059538249
W6QM MICC-FT BELVOIR                                   W911W415P0005   059538249
DEF. CONTRACT. CMD. - WASHINGTON                       DASW0102D0006   045812369
DEF. CONTRACT. CMD. - WASHINGTON         DASW0102D0006 3223            045812369
DEF. CONTRACT. CMD. - WASHINGTON         GS22F9663D    DASW0101F0207   059538249
W00Y CONTR OFC DODAAC                    GS22F9663D    DASC0103F0218   059538249
W00Y CONTR OFC DODAAC                    GS22F9663D    W911W405F0002   059538249
W00Y CONTR OFC DODAAC                    GS22F9663D    W911W407F0003   059538249
W00Y CONTR OFC DODAAC                    GS22F9663D    W911W407F0020   059538249
W00Y CONTR OFC DODAAC                    GS22F9663D    W911W408F0005   059538249
W00Y CONTR OFC DODAAC                    GS22F9663D    W911W408F0019   059538249
W00Y CONTR OFC DODAAC                    GS22F9663D    W911W409F0003   059538249
W00Y CONTR OFC DODAAC                                  W911W408P0132   059538249
W00Y CONTR OFC DODAAC                                  W911W411P0195   059538249
W00Y CONTR OFC DODAAC                    GS22F9663D    W911W404F0275   059538249
W00Y CONTR OFC DODAAC                    GS22F9663D    W911W405F0213   059538249
W00Y CONTR OFC DODAAC                    GS22F9663D    W911W406F0011   059538249
W00Y CONTR OFC DODAAC                    GS22F9663D    W911W411F0038   059538249
W40M RHCO-ATLANTIC USAHCA                              W91YTZ13A0056   059538249
W2SD ENDIST BALTIMORE                    GS22F9663D    W912DR06F0292   059538249
US ARMY ENGINEER DISTRICT NASHVILLE      GS23FA0014    W912P508F0007   059538249
NAVAL MEDICAL CENTER SAN DIEGO CA                      N0025904F6007   045812369
NAVAL MEDICAL CENTER SAN DIEGO CA        GS22F9663D    N0025904F6592   059538249
NAVSUP WEAPON SYSTEMS SUPPORT MECH       GS22F9663D    N0010412FQB64   059538249
NAVSUP FLT LOG CTR NORFOLK                             N0018910P0788   059538249
NAVSUP FLT LOG CTR NORFOLK                             N0018910P0926   059538249
NAVSUP FLT LOG CTR NORFOLK                             N0018919PZ298   059538249
NAVSUP FLT LOG CTR NORFOLK               GS22F9663D    N0018908FZ421   059538249
NAVAL MEDICAL CENTER SAN DIEGO CA        GS22F9611D    N0025909F0018   045812369
NAVAL MEDICAL CENTER SAN DIEGO CA        GS22F9663D    N0025908F0015   059538249
NAVAL MEDICAL CENTER SAN DIEGO CA        GS22F9663D    N0025909F0610   059538249
NAVAL MEDICAL CENTER SAN DIEGO CA        GS22F9663D    N0025911F0066   059538249
NAVAL MEDICAL CENTER SAN DIEGO CA        GS22F9663D    N0025906F6532   059538249
NAVAL MEDICAL CENTER SAN DIEGO CA        GS22F9663D    N0025907F0008   059538249
CRYPTOLOGIC WARFARE GROUP SIX                          N6293610P0005   045812369
CRYPTOLOGIC WARFARE GROUP SIX            GS22F9663D    N6293614F0001   059538249
CRYPTOLOGIC WARFARE GROUP SIX                          N6293608P0011   045812369
CRYPTOLOGIC WARFARE GROUP SIX                          N6293609P0006   045812369
NCIS QUANTICO VA                         GS22F9611D    N6328507F0008   045812369
NCIS QUANTICO VA                         GS22F9663D    N6328510F0002   059538249
NAVY RECRUITING COMMAND                  GS22F9663D    N6671509F0013   059538249
NAVY RECRUITING COMMAND                  GS22F9663D    N6671510F0004   059538249
COMMANDING GENERAL                       GS22F9663D    M6700110F0462   059538249


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WASHINGTON HEADQUARTERS SERVICES                         HQ003414P0061   059538249
WASHINGTON HEADQUARTERS SERVICES                         HQ003414P0097   059538249
WASHINGTON HEADQUARTERS SERVICES                         HQ003415P0057   059538249
WASHINGTON HEADQUARTERS SERVICES                         HQ003415P0129   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ003409F3048   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ003409F3064   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ003409F3112   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ003413F0116   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ003414F0032   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ003414F0094   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ009504F0127   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ009504F0157   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ009505F0101   059538249
WASHINGTON HEADQUARTERS SERVICES         GS00F159DA      HQ003418F0201   059538249
WASHINGTON HEADQUARTERS SERVICES         GS00F159DA      HQ003419F0252   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9611D      HQ003406F1219   045812369
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ003406F1132   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ003406F1178   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ003407F1197   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ009505F0113   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ009504F0127   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ009504F0157   059538249
WASHINGTON HEADQUARTERS SERVICES         GS22F9663D      HQ009505F0101   059538249




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                                                                          Vendor     Global DUNS
                    Vendor Name                           Vendor City      State       Number
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
TALX CORPORATION                                         SAINT LOUIS    MISSOURI   045812369
EQUIFAX INC                                              ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
PERFORMANCE ASSESSMENT NETWORK INCORPORATED              CARMEL         INDIANA    045812369
PERFORMANCE ASSESSMENT NETWORK, INC                      CARMEL         INDIANA    045812369
PERFORMANCE ASSESSMENT NETWORK INCORPORATED              CARMEL         INDIANA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
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EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA        GEORGIA    045812369
PERFORMANCE ASSESSMENT NETWORK INCORPORATED              CARMEL         INDIANA    045812369


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EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX INC                                              ATLANTA   GEORGIA   045812369
EQUIFAX INC                                              ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX INC                                              ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX INC                                              ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX INC                                              ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX INCORPORATED (7969)                              ATLANTA   GEORGIA   045812369
EQUIFAX INC                                              ATLANTA   GEORGIA   045812369
EQUIFAX INC                                              ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369


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EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX INFORMATION SERVICES LLC                         ATLANTA   GEORGIA   045812369
EQUIFAX INC                                              ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369
EQUIFAX CREDIT INFORMATION SER                           ATLANTA   GEORGIA   045812369




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 Global Vendor
     Name
EQUIFAX INC.
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LISA ROMNEY
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            Case 1:20-cv-07591-SHS Document 3 Filed 09/17/20 Page 34 of 41
Cameron Oakes
freelance journalist
N/A
316 West 39th Street
Apt 3E
New York, NY 10018
2163362700

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Office of Freedom of Information
Washington, DC 20301-1155
(866) 574-4970
whs.mc-alex.esd.mbx.osd-js-foia-requester-service-center@mail.mil



October 10, 2019

         FOIA REQUEST

Dear FOIA Officer:

Pursuant to the federal Freedom of Information Act, 5 U.S.C. § 552, I request access to and copies of I
would like a full copy of all contracts awarded to "Fors Marsh Group LLC" by the Department of Defense
from 2001 onwards. "Fors Marsh Group LLC" operates out of Arlington, Virginia. The DoD lists several
summaries of million-dollar contracts on its website, but I would like to have each of the full contracts
(including but not limited to contracts: H98210-15-D-0001 (and its fixed-price modifications), N00178-16-
D-8518 thru N00178-16-D-9125, and W52P1J-15-F-5022). I would also like any Fors Marsh Group LLC
contracts that did not meet the $7 million dollar requirement necessary to be reported on the DoD website. It
is my understanding that trade secrets are exempt from FOIA requests. In the event that the contract contains
any trade secrets, I request that the secrets be redacted and the contract still provided, as mandated by federal
law.

I would like to receive the information in I would prefer electronic copies of the contracts. But I will also
accept the contracts in paper form. And I am willing to pay a fee to have the documents printed and mailed
to me at my listed address.

I agree to pay reasonable fees for the processing of this request up to $100. Please notify me before incurring
any expenses in excess of that amount.

Fee Categorization

For fee categorization purposes, I am a representative of the news media. Through this request, I am
gathering information for my journalistic work with . . I am a freelance journalist. I am using the documents
for research for an article that I intend to publish. I do not yet have an outlet for publication, but it will be
published some time in early 2020. Accordingly, I am only required to pay for the direct cost of duplication
after the first 100 pages. 5 U.S.C. § 552(a)(4)(A)(ii)(II); id. § 552(a)(4)(A)(iv)(II).

Conclusion

If my request is denied in whole or part, please justify all withholdings by reference to specific exemptions
and statutes, as applicable. For each withholding please also explain why your agency “reasonably foresees
that disclosure would harm an interest protected by an exemption” or why “disclosure is prohibited by
law[.]” 5 U.S.C. § 552(a)(8)(A)(i).

I would appreciate your communicating with me by email or telephone, rather than by mail.
            Case 1:20-cv-07591-SHS Document 3 Filed 09/17/20 Page 35 of 41
I look forward to your determination regarding my request within 20 business days, as the statute requires.

Thank you in advance for your assistance.

Sincerely,



Cameron Oakes
           Case 1:20-cv-07591-SHS Document 3 Filed 09/17/20 Page 36 of 41
Cameron Oakes
Freelance Journalist
n/a
316 West 39th Street
Apt 3E
New York, NY 10018
2163362700

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Washington, DC 20301-1155
(866) 574-4970
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October 10, 2019

         FOIA REQUEST

Dear FOIA Officer:

Pursuant to the federal Freedom of Information Act, 5 U.S.C. § 552, I request access to and copies of all
proposals for Department of Defense contracts from to "Fors Marsh Group LLC" from 2001 onwards. "Fors
Marsh Group LLC" operates out of Arlington, Virginia. The DoD lists several summaries of million-dollar
contracts on its website. I would like to have proposals including but not limited to for contracts (later
awarded): H98210-15-D-0001 (and its fixed-price modifications), N00178-16-D-8518 thru N00178-16-D-
9125, and W52P1J-15-F-5022. I would also like any Fors Marsh Group LLC proposals that did not meet the
$7 million dollar requirement necessary to be reported on the DoD website. It is my understanding that trade
secrets are exempt from FOIA requests. In the event that the contract contains any trade secrets, I request
that the secrets be redacted and the contract still provided, as mandated by federal law.

I would like to receive the information in electronic copies. But I will also accept the proposals in paper
form. And I am willing to pay a fee to have the documents printed and mailed to me at my listed address.

I agree to pay reasonable fees for the processing of this request up to $100. Please notify me before incurring
any expenses in excess of that amount.

Fee Categorization

For fee categorization purposes, I am a representative of the news media. Through this request, I am
gathering information for my journalistic work with . . an article I intend to publish. I am a freelance
journalist. And thus do not yet have an outlet for publication, but it will be published some time in early
2020. Accordingly, I am only required to pay for the direct cost of duplication after the first 100 pages. 5
U.S.C. § 552(a)(4)(A)(ii)(II); id. § 552(a)(4)(A)(iv)(II).

Conclusion

If my request is denied in whole or part, please justify all withholdings by reference to specific exemptions
and statutes, as applicable. For each withholding please also explain why your agency “reasonably foresees
that disclosure would harm an interest protected by an exemption” or why “disclosure is prohibited by
law[.]” 5 U.S.C. § 552(a)(8)(A)(i).

I would appreciate your communicating with me by email or telephone, rather than by mail.

I look forward to your determination regarding my request within 20 business days, as the statute requires.
           Case 1:20-cv-07591-SHS Document 3 Filed 09/17/20 Page 37 of 41
Thank you in advance for your assistance.

Sincerely,



Cameron Oakes
            Case 1:20-cv-07591-SHS Document 3 Filed 09/17/20 Page 38 of 41
Cameron Oakes
freelance journalist
n/a
316 West 39th Street
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October 15, 2019

         FOIA REQUEST

Dear FOIA Officer:

Pursuant to the federal Freedom of Information Act, 5 U.S.C. § 552, I request access to and copies of all
contracts awarded to "MullenLowe U.S., Inc." by the Department of Defense from 2001 onwards.
"MullenLowe U.S., Inc." operates out of Boston, Massachusetts. I would like to have each of the following
contracts: H9821019F0191 H9821018F0187 H9821019F0118 H9821018F0169 H9821018F0061
H9821019F0115 H9821019F0262 H9821018F0060 H9821017F0063 H9821019F0018 H9821017F0064
H9821017F0148 H9821017F0147 H9821018F0175 H9821017F0085 H9821019F0265 H9821018F0145
H9821019F0222 H9821017F0102 H9821017F0062 H9821018F0125 H9821017F0156 I would also like all
contract modifications for the above contracts, including but not limited to contract modification numbers:
0001-0086 It is my understanding that trade secrets are exempt from FOIA requests. In the event that the
contract contains any trade secrets, I request that the secrets be redacted and the contract still provided, as
mandated by federal law.

I would like to receive the information in electronic copies. But I will also accept the contracts in paper form.
And I am willing to pay a fee to have the documents printed and mailed to me at my listed address.

I agree to pay reasonable fees for the processing of this request up to $100. Please notify me before incurring
any expenses in excess of that amount.

Fee Categorization

For fee categorization purposes, I am a representative of the news media. Through this request, I am
gathering information for my journalistic work with . . an article that I intend to publish. I do not yet have an
outlet for publication, but it will be published some time in early 2020. Accordingly, I am only required to
pay for the direct cost of duplication after the first 100 pages. 5 U.S.C. § 552(a)(4)(A)(ii)(II); id. §
552(a)(4)(A)(iv)(II).

Conclusion

If my request is denied in whole or part, please justify all withholdings by reference to specific exemptions
and statutes, as applicable. For each withholding please also explain why your agency “reasonably foresees
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law[.]” 5 U.S.C. § 552(a)(8)(A)(i).

I would appreciate your communicating with me by email or telephone, rather than by mail.
            Case 1:20-cv-07591-SHS Document 3 Filed 09/17/20 Page 39 of 41
I look forward to your determination regarding my request within 20 business days, as the statute requires.

Thank you in advance for your assistance.

Sincerely,



Cameron Oakes
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